
PER CURIAM.
Inasmuch as there is no utterance by the District Court of Appeal which can be considered to conflict with any expression of this Court or any District Court of Appeal on the subject, we now decide that the writ of certiorari was improvidently issued, so it is discharged.
THOMAS, THORNAL, ERVIN and ADAMS, JJ., concur.
DREW, J., agrees only to discharge of writ.
CALDWELL, C. J., and ROBERTS, J., dissent.
See New York Life Ins. Co. v. Oates,, 141 Fla. 164, 192 So. 637 (1939); Foley v. Weaver Drugs, Inc., 177 So.2d 221 (Fla.1965).
